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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
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                                                     :
                                                     :
 UNITED STATES OF AMERICA                            :
                                                     :
                 —V.—                                :    S3 19-Cr. 254 (ALC)
                                                     :
 REGINALD FOWLER,                                    :
                                                     :
                 DEFENDANT.                          :
                                                     :
__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _X

                 DECLARATION OF CHARLES “CHARLIE” EBERSOL

My name is Charlie Ebersol. I am a citizen of the United States. I currently reside in and am a
citizen of Georgia.

In the Winter/Spring of 2016, while directing a television retrospective on the short-lived XFL for
ESPN, I became convinced that a spring professional football league would succeed that
complemented the NFL and delivered a high quality football product reminiscent of the NFL. I
also saw that there was an opportunity to combine such a league with in-game metric collection
and analysis products to make the game experience interactive and develop corollary technology
products that could transfer to other activities, such as gambling and performance.

I discussed the idea with a number of people I respected, including my father, formerly the
Chairman of NBC Sports and Olympics. He introduced me to Bill Polian, formerly the general
manager of the NFL Buffalo Bills, Carolina Panthers and Indianapolis Colts and a Pro Football
Hall of Fame inductee. Throughout the summer of 2017, Mr. Polian and I, and consulting with
others, worked on the concept and plan that became the Alliance of American Football. I formed
Ebersol Sports Media Group, Inc. on October 31, 2017.

ESMG raised $7 million in seed capital through traditional venture capital channels by December
2017. The company planned to announce the league in the first quarter of 2018 and debut the
league on February 9, 2019. Following what I understand is a typical course for startup funding
and advised by preeminent startup counsel, ESMG prepared for its next funding round
contemplated to provide ESMG with the operating capital needed to achieve full-scale operation.
I began speaking to potential investors for this funding round. In April we set up a convertible
note purchase agreement to allow people who wanted to participate in smaller amounts to invest.
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In early June, Willie Lanier, a former NFL Hall-of-Famer introduced me to Reggie Fowler. I
understood that certain people associated with the NFL had suggested that Mr. Lanier make this
introduction. Mr. Fowler represented himself to me and other ESMG personnel involved in capital
raising as a successful real estate investor and entrepreneur; he had formerly owned a minority
stake in the Minnesota Vikings. ESMG provided information and projections and we quickly
reached a mutual understanding that Mr. Fowler would anchor a Series 1 funding round in which
he would purchase $50 million in preferred stock and provide $120 million in immediately
available funding through a convertible line of credit. Mr. Fowler said he was, and by all accounts
was, successful in real estate investing. He presented bank and investment account statements
from what he said was his real estate investing company showing several hundred million on
account. He was himself represented by personal counsel and attorneys at a major international
law firm, Reed Smith, adding to his appearance of credibility. We performed a background check,
including speaking with bank executives with visibility into Mr. Fowler’s account balances which
exceed $300 million dollars; Mr. Fowler’s assurances convinced us that he was real and genuinely
wanted to get back into a football ownership position after having left a Minnesota Vikings
investment group. We were happy to have him on board.

While ESMG’s and Fowler’s attorneys worked on preparing documentation for Fowler’s Series 1
investment with Fowler as the lead investor as our term sheet outlined, ESMG began in earnest
obtaining the goods, services, facilities and personnel, especially players, it would take to launch
the league. We entered into three-year standard player agreements with potential players and
worked on getting production assets needed to produce televised programming. The company
held player combines beginning August and planned a month-long training camp to be held in San
Antonio. Those were exciting days; the AAF was set on a course to launch and there was a lot of
work to do. The company and our staff undertook all of this because we had Mr. Fowler’s
commitment and assurances.

Between April 23, 2018 and July 1st, ESMG raised about $1.6 million in additional capital from
convertible promissory note sales in varying amounts from six investors, some new and some
who were part of the original seed round. Although Fowler’s name was not identified as the
lead investor yet, those note purchasers all knew ESMG’s plan was for a lead investor to anchor
the next funding round, because I told them the plan. I have been told that this structure is
common in startup finance. Once Mr. Fowler was on board in early July, I was able to talk more
specifically with prospective note purchasers, and I did. From July 1 through the Series 1
closing in November, ESMG sold convertible promissory notes totaling $14,105,000 from
previous and new investors. ESMG discussed the Series 1 structure and Fowler’s involvement
and commitments with these note purchasers. In fact, before the Series 1 closing, I had to talk
with all them to obtain their consent to convert.
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In addition, ESMG completed a $7 million secured note and warrant purchase financing from
MGM Resorts International, Inc. MGM was well aware of Fowler’s commitment level; I
personally discussed it with them because they were concerned that the loan documentation be
consistent with the Series 1 financing structure.

Fowler became a director and chair or co-chair of the football and finance committees. He was
well aware of the league’s needs for capital—his capital. The league was incurring bills for
goods and services and was on a fixed path towards training camp and launch. There was no
turning back. When Fowler had initial trouble providing his capital, he repeatedly assured us
that the issues were merely logistical and that his team was working on getting the money moved
to onshore accounts where it could quickly be moved to AAF. “It will be hear very soon” was a
mantra.

ESMG did what it could to aid in giving Mr. Fowler the time he said he needed. David Pottruck
and my father, Dick Ebersol caused their trusts to each make $7 million in loans to the company;
we used the MGM funding tranches for general expenses, although we had hoped to use those
funds primarily to accelerate AAF’s technology product development.

Mr. Fowler did send some funds along the way, but little in comparison with his commitment to
provide $170 million in immediate funding. He continued to assure, and we all continued to
believe, that his funding delays were simply logistical. He never told us, and we had no way to
know, that the very accounts he showed us to secure our relationship had been seized by the
United States because of the criminal acts Mr. Fowler has now admitted to.

Although we believed in Mr. Fowler all along, eventually I had to seek new funding. I reached
out to several venture capital managers, including Erik Anderson at West River Group. He
introduced me to Tom Dundon. In very short order, we secured some funding commitment from
Dundon Capital Partners and Dundon, but we had to give up a 75% ownership stake to DCP and
total control of ESMG’s board to Mr. Dundon and his partner. In other words, in order to try to
save all we had built, I had to give up any ability to direct its future. DCP and Dundon also
required ESMG to part ways with Fowler definitively through an agreement. Throughout that
painful process, Fowler never told us he had been lying to us all along.

Without Fowler’s assurances, the AAF would not have incurred all of the expenses we incurred
before we were forced to move toward another investor at a great disadvantage. I am certain that
had any of our convertible note investors or bridge lenders known that Mr. Fowler’s assurances
were a phony ploy, those investments and loans would never have materialized and the
convertible noteholders would never have allowed their positions to become weaker through
conversion of their debt to equity.

Fowler terribly and certainly victimized the ESMG and its now bankrupt subsidiaries that were
the AAF. But Fowler victimized me personally too in another way. He harmed longstanding
relationships with people I had known and done business with for years. We hired staff who left
jobs and relocated to become a part of the AAF. Although many may have wanted the
excitement of starting something completely knew and accepted some risks that go with a
fledgling company, they did not expect that AAF would fail because Fowler was a fraud whose
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crimes caused his accounts to be frozen and seized. Instead, they were excited that AAF had
secured a lead investor of means.

More to the point of restitution though, Fowler cost me money personally. I was pleased to, and
thankfully was able to, assist the government in its investigation and in obtaining materials that
ultimately aided the investigations into Fowler. Even after Fowler had been a significant factor
in taking from me all of the value of the business I started and our team built, I came out of
pocket further to assist in locating documents, respond to subpoenas, give and attend interviews,
incurring substantial travel costs and attorneys’ fees personally. I had to meet with the
bankruptcy trustee’s counsel, who had possession of and was accumulating AAF’s business
documents, in order to respond to a department of justice subpoena. I incurred costs in assisting
the government in identifying witnesses and then as trial neared connecting those witnesses with
the DOJ. I made my attorneys available to represent them in that regard and in some cases paid
the costs. I am compiling the amount of those fees and backup material, but I can say at this
moment that they are substantial.

Executed on February _____, 2023.


                                             Charlie Ebersol
